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 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                                           )   No.: M-07-5944 SC
11
         In Re CATHODE RAY TUBE (CRT)                      )
12       ANTITRUST LITIGATION                              )   MDL NO. 1917
                                                           )
13                                                         )   STIPULATED PROTECTIVE ORDER
         This Document Relates to:                         )
14                                                         )
15       ALL ACTIONS.                                      )
                                                           )
16
                      1.      PURPOSES AND LIMITATIONS.
17
                      Disclosure and discovery activity in this action may involve production of trade
18
       secrets or other confidential research, development, or commercial information, within the
19
       meaning of Fed.R.Civ.P. 26(c); or other private or competitively sensitive information for
20
       which special protection from public disclosure and from use for any purpose other than
21
       prosecuting this litigation would be warranted. Accordingly, the parties hereby stipulate to and
22
       petition the Court to enter the following Stipulated Protective Order. The parties acknowledge
23
       that this Order does not confer blanket protections on all disclosures or responses to discovery
24
       and that the protection it affords extends only to the limited information or items that are
25
       entitled under the applicable legal principles to confidential treatment. The parties further
26
       acknowledge, as set forth in Section 10, below, that this Stipulated Protective Order creates no
27
       entitlement to file confidential information under seal. Civil Local Rule 79-5 sets forth the
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 1     procedures that must be followed and reflects the standards that will be applied when a party

 2     seeks permission from the Court to file material under seal, and is hereby incorporated by

 3     reference.

 4                      2.       DEFINITIONS.
 5                      2.1      Party: any party to this action, including all of its officers, directors, and

 6     employees.

 7                      2.2      Disclosure or Discovery Material: all items or information, regardless of

 8     the medium or manner generated, stored, or maintained (including, among other things,

 9     documents, testimony, transcripts, or tangible things) that are produced or generated in

10     disclosures or responses to discovery in this matter.

11                      2.3      Confidential Information or Items: information (regardless of how

12     generated, stored or maintained) or tangible things that qualify for protection under standards

13     developed under Fed.R.Civ.P. 26(c).

14                      2.4      Highly Confidential Information or Items: extremely sensitive

15     Confidential Information or Items whose disclosure to another Party or non-party would create

16     a substantial risk of injury that could not be avoided by less restrictive means.

17                      2.5      Receiving Party: a Party that receives Disclosure or Discovery Material

18     from a Producing Party.

19                      2.6      Producing Party: a Party or non-party that produces Disclosure or

20     Discovery Material in this action.

21                      2.7.     Designating Party: a Party or non-party that designates information or

22     items that it produces in disclosures or in responses to discovery as “Confidential” or “Highly

23     Confidential.”

24                      2.8      Protected Material: any Disclosure or Discovery Material that is

25     designated as “Confidential” or as “Highly Confidential.”

26                      2.9.     Outside Counsel: attorneys, along with their paralegals, and other

27     support personnel, who are not employees of a Party but who are retained to represent or advise

28     a Party in this action.
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 1                    2.10    In House Legal Personnel: attorneys and other personnel employed by a

 2     Party to perform legal functions who are responsible for overseeing this litigation for the Party.

 3                    2.11    Counsel (without qualifier): Outside Counsel and In House Legal

 4     Personnel (as well as their support staffs, including but not limited to attorneys, paralegals,

 5     secretaries, law clerks, and investigators).

 6                    2.12    Expert and/or Consultant: a person with specialized knowledge or

 7     experience in a matter pertinent to the litigation, along with his or her employees and support

 8     personnel, who has been retained by a Party or its Counsel to serve as an expert witness or as a

 9     consultant in this action, and who is not currently an employee, nor has been an employee

10     within eighteen months of the date of entry of this Order, of a Party or of a Cathode Ray Tube

11     “CRT” business unit of a non-party, and who, at the time of retention, is not anticipated to

12     become an employee of a Party or of a CRT business unit of a non-party. This definition

13     includes a professional jury or trial consultant retained in connection with this litigation.

14                    2.13    Professional Vendors: persons or entities that provide litigation support

15     services (e.g., photocopying; videotaping; translating; preparing exhibits or demonstrations;

16     organizing, storing, retrieving data in any form or medium; etc.) and their employees and

17     subcontractors.

18                    3.      SCOPE.
19                    The protections conferred by this Stipulated Protective Order cover not only

20     Protected Material (as defined above), but also any information copied or extracted therefrom,

21     as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

22     conversations, or presentations by Parties or Counsel in settings that might reveal Protected

23     Material. However, this Order shall not be construed to cause any Counsel to produce, return,

24     and/or destroy their own attorney work product, or the work product of their co-counsel.

25                    4.      DURATION.
26                    The confidentiality obligations imposed by this Order shall remain in effect until

27     the Designating Party agrees otherwise in writing or this Court orders otherwise.

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 1                    5.      DESIGNATING PROTECTED MATERIAL.
 2                    5.1     Exercise of Restraint and Care in Designating Material for Protection.

 3     Each Party or non-party that designates information or items for protection under this Order

 4     must take care to limit any such designation to specific material that qualifies under the

 5     appropriate standards and avoid indiscriminate designations.

 6                    If it comes to a Designating Party’s attention that information or items that it

 7     designated for protection do not qualify for protection at all, or do not qualify for the level of

 8     protection initially asserted, that Designating Party must promptly notify all Receiving Parties

 9     that it is withdrawing or changing the mistaken designation.

10                    5.2     Manner and Timing of Designations. Except as otherwise provided in

11     this Order (see, e.g., section 5.2(b), below), or as otherwise stipulated or ordered, material that

12     qualifies for protection under this Order must be clearly so designated before the material is

13     disclosed or produced. Notwithstanding the preceding sentence, should a Producing Party

14     discover that it produced material that was not designated as Protected Material or that it

15     produced material that was designated as Protected Material but had designated that Protected

16     Material in the incorrect category of Protected Material, the Producing Party may notify all

17     Parties, in writing, of the error and identifying (by bates number or other individually

18     identifiable information) the affected documents and their new designation or re-designation.

19     Thereafter, the material so designated or re-designated will be treated as Protected Material.

20     Promptly after providing such notice, the Producing Party shall provide re-labeled copies of the

21     material to each Receiving Party reflecting the change in designation. The Receiving Party will

22     replace the incorrectly designated material with the newly designated materials and will destroy

23     the incorrectly designated materials.

24                    Designation in conformity with this Order requires:

25                    (a)     for information in documentary form (apart from transcripts of

26            depositions or other pretrial or trial proceedings), that the Producing Party affix the

27            legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” on each page that

28            contains protected material.
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 1                      (b)    for testimony given in deposition, that a Party, or a non-party that

 2            sponsors, offers, gives, or elicits the testimony, designate any portion of the testimony

 3            as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” either on the record before

 4            the deposition is concluded, or in writing within thirty (30) days after the final transcript

 5            is received. Only those portions of the testimony that are designated for protection in

 6            accordance with the preceding sentence shall be covered by the provisions of this

 7            Stipulated Protective Order. The entire testimony shall be deemed to have been

 8            designated Highly Confidential until the time within which the transcript may be

 9            designated has elapsed. If testimony is not designated within the prescribed time period,

10            then such testimony shall not be deemed Confidential or Highly Confidential except as

11            ordered by the Court.

12                      Transcript pages containing Protected Material must be separately bound by the

13            court reporter, who must affix to each such page the legend “CONFIDENTIAL” or

14            “HIGHLY CONFIDENTIAL,” as instructed by the Party or nonparty sponsoring,

15            offering, giving or eliciting the witness’ testimony.

16                      (c)    for information produced in electronic or video format, and for any other

17            tangible items, that the Producing Party affix in a prominent place on the exterior of the

18            container or containers in which the information or item is stored the legend

19            “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

20                      5.3    Inadvertent Failures to Designate. If corrected, an inadvertent failure to

21     designate qualified information or items as “Confidential” or “Highly Confidential” does not,

22     standing alone, waive the Designating Party’s right to secure protection under this Order for

23     such material. If material is re-designated as “Confidential” or “Highly Confidential” after the

24     material was initially produced, the Receiving Party, upon notification of the designation, must

25     make reasonable efforts to assure that the material is treated in accordance with the provisions

26     of this Order.

27                      5.4    Increasing the Designation of Information or Items Produced by Other

28     Parties or Non-Parties. Subject to the standards of paragraph 5.1, a Party may increase the
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 1     designation (i.e., change any Disclosure or Discovery Material produced without a designation

 2     to a designation of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” or designate any

 3     Disclosure or Discovery Material produced as “CONFIDENTIAL” to a designation of

 4     “HIGHLY CONFIDENTIAL”) of any Discovery Material produced by any other Party or

 5     non-Party, provided that said Discovery Material contains the upward Designating Party’s own

 6     Confidential or Highly Confidential Information. Any such increase in the designation of a

 7     document shall be made within 90 days of the date of its production, unless good cause is

 8     shown for a later increase in the designation.

 9                    Increasing a designation shall be accomplished by providing written notice to all

10     Parties identifying (by bates number or other individually identifiable information) the

11     Disclosure or Discovery Material whose designation is to be increased. Promptly after

12     providing such notice, the upward Designating Party shall provide re-labeled copies of the

13     material to each Receiving Party reflecting the change in designation. The Receiving Party will

14     replace the incorrectly designated material with the newly designated materials and will destroy

15     the incorrectly designated materials. Any Party may object to the increased designation of

16     Disclosure or Discovery Materials pursuant to the procedures set forth in paragraph 6 regarding

17     challenging designations. The upward Designating Party shall bear the burden of establishing

18     the basis for the increased designation.

19                    6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS.
20                    6.1     Timing of Challenges. A Party does not waive its right to challenge a

21     confidentiality designation by electing not to mount a challenge promptly after the original

22     designation is disclosed.

23                    6.2     Meet and Confer. A Party that elects to initiate a challenge to a

24     Designating Party’s confidentiality designation must do so in good faith and must begin the

25     process by notifying the Designating Party in writing, by telephone or in person of its challenge

26     and identify the challenged material, then conferring directly in voice to voice dialogue (other

27     forms of communication are not sufficient) with counsel for the Designating Party. The Parties

28     must then meet and confer in good faith. Each Party must explain the basis for its respective
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 1     position about the propriety of the challenged confidentiality designations. The parties shall

 2     have fourteen (14) days from the initial notification of a challenge to complete this meet and

 3     confer process.

 4                    6.3     Judicial Intervention. In any judicial proceeding challenging a

 5     confidentiality designation, the burden of persuasion with respect to the propriety of the

 6     confidentiality designation shall remain upon the Designating Party. If the parties are not able

 7     to resolve a dispute about a confidentiality designation within the time provided in paragraph

 8     6.2, above, the parties shall, within fourteen (14) days thereafter, prepare and present to the

 9     Special Master a joint letter brief that identifies the challenged material and sets forth the

10     respective positions of the parties about the propriety of the challenged confidentiality

11     designations. Until the ruling on the dispute becomes final, all parties shall continue to afford

12     the material in question the level of protection to which it is entitled under the Designating

13     Party’s designation.

14                    In the event that the final ruling is that the challenged material is not confidential

15     or that its designation should be changed, the Designating Party shall reproduce copies of all

16     materials with their designations removed or changed in accordance with the ruling within

17     thirty (30) days at the expense of the Designating Party.

18                    7.      ACCESS TO AND USE OF PROTECTED MATERIAL.
19                    7.1     Basic Principles. A Receiving Party may use Protected Material that is

20     disclosed or produced by a Producing Party only in connection with this action for prosecuting,

21     defending, or attempting to settle this action. Such Protected Material may be disclosed only to

22     the categories of persons and under the conditions described in this Order. When the litigation

23     has been terminated, a Receiving Party must comply with the provisions of section 11, below

24     (FINAL DISPOSITION).

25                    Protected Material must be stored and maintained by a Receiving Party at a

26     location and in a secure manner that ensures that access is limited to the persons authorized

27     under this Order. For purposes of this Order, a secure website, or other internet-based

28     document depository with adequate security, shall be deemed a secure location.
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 1                    7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless

 2     otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving

 3     Party may disclose any information or item designated “CONFIDENTIAL” only to:

 4                    (a)     the Receiving Party’s Outside Counsel of record in this action, as well as

 5            employees of said counsel to whom it is reasonably necessary to disclose the

 6            information for this litigation;

 7                    (b)     current or former officers, directors, and employees of Parties to whom

 8            disclosure is reasonably necessary for this litigation and who have signed the

 9            “Agreement To Be Bound by Protective Order” (Exhibit A);

10                    (c)     Experts and/or Consultants with respect to each of whom (1) disclosure

11            is reasonably necessary for this litigation, and (2) an “Agreement To Be Bound by

12            Protective Order” (Exhibit A) has been signed;

13                    (d)     the Court and its personnel;

14                    (e)     stenographers, their staffs, and professional vendors to whom disclosure

15            is reasonably necessary for this litigation and who have signed the “Agreement To Be

16            Bound by Protective Order” (Exhibit A);

17                    (f)     the author, addressees, or recipients of the document, or any other

18            natural person who would have likely reviewed such document during his or her

19            employment as a result of the substantive nature of his or her employment position, or

20            who is specifically identified in the document, or whose conduct is purported to be

21            specifically identified in the document;

22                    (g)     witnesses in the action to whom disclosure is reasonably necessary for

23            this litigation and who have signed the “Agreement To Be Bound by Protective Order”

24            (Exhibit A); provided that, Confidential Information may be disclosed to a witness

25            during their deposition, but only if they have executed the “Agreement to Be Bound by

26            Protective Order” (Exhibit A), which shall be made an exhibit to the deposition

27            transcript, or have agreed on the record to keep the information confidential and not to

28            use it for any purpose, or have been ordered to do so; and provided further that, pages of
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 1          transcribed deposition testimony or exhibits to depositions that reveal Confidential

 2          Information must be marked “Confidential” and separately bound by the court reporter

 3          and not included in the main deposition transcript and exhibit binder, and may not be

 4          disclosed to anyone except as permitted under this Stipulated Protective Order; and

 5                  (h)     any other person to whom the Designating Party agrees in writing or on

 6          the record, and any other person to whom the Court compels access to the Confidential

 7          Information.

 8                  7.3     Disclosure of “HIGHLY CONFIDENTIAL” Information or Items.

 9   Unless otherwise ordered by the Court or permitted in writing by the Designating Party, a

10   Receiving Party may disclose any information or item designated “HIGHLY

11   CONFIDENTIAL” only to:

12                  (a)     the Receiving Party’s Outside Counsel of record in this action, as well as

13          employees of said counsel to whom it is reasonably necessary to disclose the

14          information for this litigation;

15                  (b)     Experts and/or Consultants with respect to each of whom (1) disclosure

16          is reasonably necessary for this litigation, and (2) an “Agreement To Be Bound by

17          Protective Order” (Exhibit A) has been signed;

18                  (c)     the Court and its personnel;

19                  (d)     stenographers, their staffs, and professional vendors to whom disclosure

20          is reasonably necessary for this litigation and who have signed the “Agreement to Be

21          Bound by Protective Order” (Exhibit A);

22                  (e)     the author, addressees or recipients of the document, the Designating

23          Party’s employees who were employed by the Designating Party at the time the

24          document was authored, or any other natural person who is specifically identified in the

25          document, or whose conduct is purported to be specifically identified in the document;

26                  (f)     any other person to whom the Designating Party agrees in writing or on

27          the record, and any other person to whom the Court compels access to the Highly

28          Confidential Information.
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 1                   7.4     Retention of Exhibit A. Outside Counsel for the Party that obtains the

 2   signed “Agreements To Be Bound by Protective Order” (Exhibit A), as required above, shall

 3   retain them for one year following the final termination of this action, including any appeals,

 4   and shall make them available to other Parties upon good cause shown.

 5                   7.5     Retention of Protected Material. Persons who have been shown

 6   Protected Material pursuant to Section 7.2(b), (f), or (g), or Section 7.3(e) or (f) shall not retain

 7   copies of such Protected Material.

 8
                     8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
 9                           PRODUCED IN OTHER LITIGATION.
10                   If a Receiving Party is served with a discovery request, subpoena or an order

11   issued in other litigation or proceedings that would compel disclosure of any information or

12   items designated in this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” the

13   Receiving Party must so notify the Designating Party, in writing (by fax or electronic mail, if

14   possible), along with a copy of the discovery request, subpoena or order, as soon as reasonably

15   practicable.

16                   The Receiving Party also must immediately inform the party who caused the

17   discovery request, subpoena or order to issue in the other litigation or proceeding that some or

18   all the material covered by the subpoena or order is the subject of this Protective Order. In

19   addition, the Receiving Party must deliver a copy of this Stipulated Protective Order promptly

20   to the party in the other action that caused the discovery request, subpoena or order to issue.

21                   The purpose of imposing these duties is to alert the interested parties to the

22   existence of this Stipulated Protective Order and to afford the Designating Party in this case an

23   opportunity to try to protect its confidentiality interest in the court from which the discovery

24   request, subpoena or order is issued. The Designating Party shall bear the burdens and the

25   expenses of seeking protection in that court of its confidential or highly confidential material.

26   Nothing in these provisions should be construed as authorizing or encouraging a Receiving

27   Party in this action to disobey a lawful directive from another court.

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 1                   9.      UNAUTHORIZED DISCLOSURE OF PROTECTED
                             MATERIAL.
 2
                     If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 3
     Protected Material to any person or in any circumstance not authorized under this Stipulated
 4
     Protective Order, the Receiving Party must immediately (a) notify in writing the Designating
 5
     Party of the unauthorized disclosures, (b) use its best efforts to retrieve all copies of the
 6
     Protected Material, (c) inform the person or persons to whom unauthorized disclosures were
 7
     made of all the terms of this Order, and (d) request such person or persons to execute the
 8
     “Acknowledgment and Agreement To Be Bound” that is attached hereto as Exhibit A.
 9

10                   10.     FILING PROTECTED MATERIAL.
                     Without written permission from the Designating Party or a court order secured
11
     after appropriate notice to all interested persons, a Party may not file in the public record in this
12
     action any Protected Material. A Party that seeks to file under seal any Protected Material must
13
     comply with Civil Local Rule 79-5.
14

15                   11.     FINAL DISPOSITION.
                     Unless otherwise ordered or agreed in writing by the Producing Party, within
16
     thirty days after the final termination of this action, including any appeals, each Receiving Party
17
     must return all Protected Material to the Producing Party. As used in this subdivision,
18
     “Protected Material” includes all copies, abstracts, compilations, summaries or any other form
19
     of reproducing or capturing any of the Protected Material. The Receiving Party may destroy
20
     some or all of the Protected Material instead of returning it. Whether the Protected Material is
21
     returned or destroyed, the Receiving Party must submit a written certification to the Producing
22
     Party (and, if not the same person or entity, to the Designating Party) by the thirty day deadline
23
     that identifies (by category, where appropriate) all the Protected Material that was returned or
24
     destroyed and that affirms that the Receiving Party has not retained any copies, abstracts,
25
     compilations, summaries or other forms of reproducing or capturing any of the Protected
26
     Material. Notwithstanding this provision, counsel are entitled to retain an archival copy of all
27
     pleadings, motion papers, transcripts (other than transcripts of deposition or other witness
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 1   testimony) legal memoranda, correspondence or attorney work product, even if such materials

 2   contain Protected Material. Any such archival copies that contain or constitute Protected

 3   Material remain subject to this Protective Order as set forth in Section 4 (DURATION), above.

 4                  12.     INADVERTENTLY PRODUCED DOCUMENTS.
 5                  If a Party at any time notifies any other Party that it inadvertently produced

 6   documents, testimony, information, and/or things that are protected from disclosure under the

 7   attorney-client privilege, work product doctrine, and/or any other applicable privilege or

 8   immunity from disclosure, or the Receiving Party discovers such inadvertent production, the

 9   inadvertent production shall not be deemed a waiver of the applicable privilege or protection.

10   The Receiving Party shall immediately return all copies of such documents, testimony,

11   information and/or things to the inadvertently producing Party and shall not use such items for

12   any purpose until further order of the Court. In all events, such return must occur within three

13   (3) business days of receipt of notice or discovery of the inadvertent production. The return of

14   any discovery item to the inadvertently producing Party shall not in any way preclude the

15   Receiving Party from moving the Court for a ruling that the document or thing was never

16   privileged.

17                  13.     ATTORNEY RENDERING ADVICE.
18                  Nothing in this Protective Order will bar or otherwise restrict an attorney from

19   rendering advice to his or her client with respect to this matter or from relying upon or generally

20   referring to “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” Disclosure or Discovery

21   Material in rendering such advice; provided however, that in rendering such advice or in

22   otherwise communicating with his or her client, the attorney shall not reveal or disclose the

23   specific content thereof if such disclosure is not otherwise permitted under this Protective

24   Order.

25                  14.     DISPOSITIVE MOTION HEARINGS AND TRIAL.
26                  The terms of this Protective Order shall govern in all circumstances except for

27   presentations of evidence and argument at hearings on dispositive motions and at trial. The

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 1   parties shall meet and confer in advance of such proceedings and seek the guidance of the Court

 2   as to appropriate procedures to govern such proceedings.

 3                  15.     MISCELLANEOUS.
 4                  15.1    Right to Further Relief. Nothing in this Order abridges the right of any

 5   person to seek its modification by the Court in the future.

 6                  15.2    Right to Assert Other Objections. By stipulating to the entry of this

 7   Protective Order no Party waives any right it otherwise would have to object to disclosing or

 8   producing any information or item on any ground not addressed in this Stipulated Protective

 9   Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of

10   the material covered by this Protective Order.

11                  IT IS SO STIPULATED.
12   DATED: June 11, 2008                          By:    /s/ Guido Saveri
                                                   GUIDO SAVERI Bar No. 22349
13                                                 guido@saveri.com
                                                   SAVERI & SAVERI INC.
14
                                                   111 Pine Street, Suite 1700
15                                                 San Francisco, CA 94111-5619
                                                   Telephone: (415) 217-6810
16                                                 Facsimile: (415) 217-6813
17                                                 Interim Lead Counsel for the Direct Purchaser
                                                   Plaintiffs
18

19                                                 By:    /s/ Mario Alioto
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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27                                                    Hon. Samuel Conti
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 1                                             EXHIBIT A
 2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3                  I, ____________________________ [print full name], of

 4   _____________________________________________________ [print or type full address],

 5   declare under penalty of perjury under the laws of the United States of America that I have read

 6   in its entirety and understand the Stipulated Protective Order that was issued by the United

 7   States District Court for the Northern District of California, San Francisco Division, in the case

 8   of In Re CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION, No.: M-07-5944 SC,

 9   MDL No. 1917.

10                  I agree to comply with and to be bound by all the terms of this Stipulated

11   Protective Order, and I understand and acknowledge that failure to so comply could expose me

12   to sanctions and punishment in the nature of contempt. I solemnly promise that I will not

13   disclose in any manner any information or item that is subject to this Stipulated Protective

14   Order to any person or entity except in strict compliance with the provisions of this Order.

15                  I further agree to submit to the jurisdiction of the United States District Court for

16   the Northern District of California for the purpose of enforcing the terms of this Stipulated

17   Protective Order, even if such enforcement proceedings occur after termination of this action.

18
     Date: ________________
19

20   City and State (or Country) where sworn and signed: ___________________________

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     Printed name: ____________________________
22

23   Signature: _______________________________

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     STIPULATED PROTECTIVE ORDER
